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                       ,17+(81,7('67$7(6',675,&7&2857
                        )257+(',675,&72)1257+'$.27$

8QLWHG6WDWHVRI$PHULFD

               3ODLQWLII                       AMENDED ORDER

       YV
                                                &DVH1RFU
-DFRE2ULRQ<RXSHH

               'HIHQGDQW


       'HIHQGDQWLVFXUUHQWO\VFKHGXOHGWREHUHOHDVHGRQ0DUFKWRDWWHQGDVXEVWDQFH

DEXVHHYDOXDWLRQDQGUHVLGHQWLDOWUHDWPHQW LIUHFRPPHQGHG 6HH'RF1R1RZEHIRUHWKH

FRXUWLVDPRWLRQIRUIXUORXJKILOHGE\GHIHQGDQWRQ)HEUXDU\'HIHQGDQWLVUHTXHVWLQJWR

EHUHOHDVHGRQ0DUFKWRDWWHQGIXQHUDOVHUYLFHVIRUKLVXQFOH

       7KHUHEHLQJQRREMHFWLRQIURPWKH*RYHUQPHQWWKHFRXUW*5$176GHIHQGDQW¶VPRWLRQ

'RF1R 'HIHQGDQWVKDOOEHUHOHDVHGQRHDUOLHUWKDQSPRQ0DUFK+LVUHOHDVH

VKDOOEHVXEMHFWWRWKHIROORZLQJFRQGLWLRQV

              'HIHQGDQWPXVWQRWYLRODWHIHGHUDOVWDWHWULEDORUORFDOODZZKLOHRQUHOHDVH

              'HIHQGDQWPXVWDSSHDULQFRXUWDVUHTXLUHGDQGPXVWVXUUHQGHUWRVHUYHDQ\VHQWHQFH

               LPSRVHG

             'HIHQGDQW VKDOO UHSRUW WR WKH 3UHWULDO 6HUYLFHV 2IILFH DW VXFK WLPHV DQG LQVXFK

               PDQQHUDVGHVLJQDWHGE\WKHVXSHUYLVLQJRIILFHU

              'HIHQGDQWVKDOOUHIUDLQIURPDQ\XVHRIDOFRKRODQ\XVHRUSRVVHVVLRQRIDQDUFRWLF

               GUXJDQGRWKHUFRQWUROOHGVXEVWDQFHVGHILQHGLQ86&RUVWDWHVWDWXWH

               XQOHVV SUHVFULEHG E\ D OLFHQVHG PHGLFDO SUDFWLWLRQHU DQG DQ\ XVH RI LQKDODQWV



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     'HIHQGDQW VKDOO VXEPLW WR GUXJDOFRKRO VFUHHQLQJ DW WKH GLUHFWLRQ RI WKH 3UHWULDO

     6HUYLFHV2IILFHUWRYHULI\FRPSOLDQFH)DLOXUHRUUHIXVDOWRVXEPLWWRWHVWLQJRU

     WDPSHULQJZLWKWKHFROOHFWLRQSURFHVVRUVSHFLPHQPD\EHFRQVLGHUHGWKHVDPHDVD

     SRVLWLYHWHVWUHVXOW

    'HIHQGDQW VKDOO QRW SRVVHVV D ILUHDUP GHVWUXFWLYH GHYLFH RU RWKHU GDQJHURXV

     ZHDSRQ

    'HIHQGDQWVKDOOQRWNQRZLQJO\RULQWHQWLRQDOO\KDYHDQ\GLUHFWRULQGLUHFWFRQWDFW

     ZLWK DQ\ FRGHIHQGDQWV RU ZLWQHVVHV H[FHSW WKDW FRXQVHO IRU WKH GHIHQGDQW RU

     FRXQVHO V DJHQW RU DXWKRUL]HG UHSUHVHQWDWLYH PD\ KDYH VXFK FRQWDFW ZLWK VXFK

     SHUVRQ V DVLVQHFHVVDU\LQWKHIXUWKHUDQFHRIWKHGHIHQGDQW VOHJDOGHIHQVH

    'HIHQGDQWVKDOOVXEPLWKLVSHUVRQUHVLGHQFHYHKLFOHDQGRUSRVVHVVLRQVWRDVHDUFK

     FRQGXFWHG E\ D 3UHWULDO 6HUYLFHV 2IILFHU DW WKH UHTXHVW RI WKH 3UHWULDO 6HUYLFHV

     2IILFHU)DLOXUHWRVXEPLWWRDVHDUFKPD\EHJURXQGVIRUUHYRFDWLRQRISUHWULDO

     UHOHDVH'HIHQGDQWVKDOOQRWLI\DQ\RWKHUUHVLGHQWVWKDWWKHSUHPLVHVPD\EHVXEMHFW

     WRVHDUFKHVSXUVXDQWWRWKLVFRQGLWLRQ

    'HIHQGDQWVKDOOUHSRUWWRWKH3DUVKDOO5HVRXUFHV&HQWHURQ0DUFKIRUKLV

     VFKHGXOHGVXEVWDQFHDEXVHHYDOXDWLRQ,QWKHLQWHULPKHVKDOOUHVLGHDWWKHDGGUHVV

     KHKDVSURYLGHGWRWKH3UHWULDO6HUYLFH2IILFHU$GGLWLRQDOO\KHVKDOOSURYLGHWKH

     3UHWULDO6HUYLFHV2IILFHUZLWKFRQWDFWLQIRUPDWLRQZKHUHKHFDQEHUHDFKHGDWDOO

     WLPHV

    ,I GHIHQGDQW LV LPPHGLDWHO\ DFFHSWHG DQG DGPLWWHG LQWR WKH 3DUVKDOO 5HVRXUFH

     &HQWHU¶VLQSDWLHQWWUHDWPHQWSURJUDPIROORZLQJKLVHYDOXDWLRQRQ0DUFKKH

     VKDOOUHVLGHDWWKHWUHDWPHQWIDFLOLW\IXOO\SDUWLFLSDWHLQWKHWUHDWPHQWSURJUDPDQG

                                         
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           FRPSO\ZLWKDOOWKHWUHDWPHQWSURJUDPVUXOHVDQGUHJXODWLRQV+HVKDOODOVRH[HFXWH

           UHOHDVHVDVQHFHVVDU\VRWKDWWKH3UHWULDO6HUYLFHV2IILFHUFDQPRQLWRUKLVSURJUDP

           LQ WUHDWPHQW 8SRQ KLV DGPLVVLRQ KH VKDOO LPPHGLDWHO\ FRQWDFW 3UHWULDO 6HUYLFH

           2IILFHU$OOLVRQ*HKULQJHUDW  

         ,IGHIHQGDQWLVQRWLPPHGLDWHO\DGPLWWHGLQWRWUHDWPHQWRULIKHLVGLVFKDUJHGIURP

           WKHWUHDWPHQWSURJUDPKHVKDOOLPPHGLDWHO\UHSRUWWRWKH8QLWHG6WDWHV0DUVKDO

           iQ B i s m a r c k , 1RUWK 'DNRWD u n l e s s o t h e r w i s e d i r e c t e d w i t h t h e u n d e r s t a n d i n g

           that he shall be detained pending further order of the court.

    ,7,66225'(5('

    'DWHGWKLVVWGD\RI0DUFK

                                                                   /s/ Charles S. Miller, Jr.
                                                                   &KDUOHV60LOOHU-U0DJLVWUDWH-XGJH
                                                                   8QLWHG6WDWHV'LVWULFW&RXUW




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